     Case 4:19-cv-00003-SWW Document 11 Filed 05/13/19 Page 1 of 2




                         In the United States District Court
                             Eastern District of Arkansas
                                  Western Division

DAREL ADELSBERGER; AND
ANNETTE ADELSBERGER                                                     PLAINTIFFS

v.                              No. 4:19‐cv‐003‐SWW

UNION PACIFIC RAILROAD COMPANY                                          DEFENDANT



             Renewed Joint Motion for Entry of Agreed Protective Order


       The parties jointly move the Court to enter the proposed protective order

attached as EXHIBIT 1, and in support state:

       1.       To address any issues involving confidential information in this

case, the parties have agreed to the terms of a protective order.

       2.       Their agreed proposed order is attached as EXHIBIT 1.

       3.       The parties feel that the proposed order strikes an appropriate

balance between protecting what needs protecting, and disclosing what should

be public.

       4.       The parties also believe that this proposed order addresses the

Court’s previously expressed concerns about the procedure for seeking leave to

file confidential documents under seal. See № 10; see also EXHIBIT 1 at p. 4.

       Accordingly, the parties jointly move the Court to enter the agreed

proposed protective order attached as EXHIBIT 1.




Renewed Joint Motion for Protective Order                                       1/2
    Case 4:19-cv-00003-SWW Document 11 Filed 05/13/19 Page 2 of 2




                                      Respectfully submitted,

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Renewed Joint Motion for Protective Order                              2/2
